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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF NEW YORK

 RUHI REIMER, on behalf of himself and                :
 others similarly situated,                           :   CASE NO. 1:21-cv-10526
                                                      :
          Plaintiff,                                  :
                                                      :
 v.                                                   :   NOTICE OF DISMISSAL
                                                      :
 BOOST INSURANCE AGENCY, INC.,                        :
                                                      :
          Defendant.                                  :
                                                      :
                                                  /

         Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff Ruhi Reimer hereby gives notice of

the dismissal of this action without prejudice, with each party to bear its own attorneys’ fees and

costs.


Date: December 16, 2021                       /s/ Avi R. Kaufman
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